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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:15−cr−00260
                                                           Honorable Jorge L. Alonso
Roderick Groetzinger, et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, February 12, 2018:


        MINUTE entry before the Honorable Jorge L. Alonso as to Roderick Groetzinger:
By agreement of the parties, sentencing hearing previously set for 2/14/18 is stricken and
reset to 5/31/18 at 1:30 p.m. Notices mailed by judge's staff (ntf, )




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